IN THE UN|TED STATES D|STR|CT CCUR`T
FOR THE EASTERN D|STR|CT OF PENNSYLVAN|A

BERNADETTE W|NANS

as Administrator of the Estate of
CARMELO W|NANS, deceased

and on behalf of
i\/iinor Piaintiffs

HAROL.D JHANIIR WlNANS and

JHANAE BECKHAIV|
2925 E HLintinQdcn Sti'eet
Phiiade|phia, PA,

P/a/'nfiffs

V.

PO R|CHARD NlCGLETTl
Badge No. 3798
individually and

in his official capacity as a
Phi|adelphia Po|ice Officer
1515 Arch Street
Phi|adeiphia, PA

PO IViATTHEW NicCARTHY
Badge No. 2987

Indivic|ua|ly and

in his official capacity as a
Phiiadeiphia Po|ice Officer
1515 Arch Street
Phi|adeiphia, PA

and

CITY CF PH|LADELPH|A

1515 Arch Street

Phi|adeiphia, PA 19102,
Defendants

JURY TR|AL DEN|ANDED

ClVlL ACTION NO. 11-

 

CONlPLA|NT

JUR|SD|CT|ON

1. This action is brought pursuant to 42 U.S.C.§§1983, 1988,12132
and 29 LJ.S.C. §794. Jurisdiction is founded upon 28 U.S.C. §§1331 and
1343 and the aforementioned statutory provisions Ptaintifffurthet invokesthe
supplemental jurisdiction of this Court under 28 U.S.C. §1367(a) to hear and
adjudicate state lavv claims

PART|ES

2. Plaintiff Bernadette Winans is a resident ofthe Commonwealth of
Pennsy|vania, at the address set forth in the caption. She is the natural
parent of decedent, Carmelo Harold Winans, (hereinafter “plaintiff’s
decedent”) and Was appointed Administrator ofthe Estate of Carmelo Harold
Winans by the Register of Wi|ls of Phi|adelphia County, Commonwealth of
Pennsylvania, No. A1254 of 201 1. She brings this action in her capacity as
Adrninistrator of the Estate and upon his surviving minor children, Harold
Jharnir Winans and Jhanae Beckharn, the minor plaintiffs

3. Prior to his death, Plaintiff’s decedent Carmelo Harold Winans

Was a 29 year-old male, residing in the City of Philade|phia, Commonwealth

 

of Pennsylvania.

4. P|aintiff’s decedent Carme|o Winans Was at all times relevant
hereto a qualified individual With a disability as defined in 42 U.S.C.
§12131(2).

5. Defendant City of Philadelphia is a municipality of the
Commonvvealth of l;’ennsylvania that ovvns7 operatesz manages directs and
controls the Philadelphia Po|ice Department and is the public employer of
Defendants Richard Nicoletti and l\/latthevv l\/lcCarthy.

6. Defendant City of Philadelphia is a public entity as defined in 42
U.S.C. §12131(1) and receives federal financial assistance under 29 U.S.
§794.

7. Defendant Richard Nicoletti Was at all relevant times a
Philadelphia Police Officer. He is being sued in his individual capacity.

8. Defendant l\/lattheW |\/|cCarthy Was at all relevant times a
Phi|adelphia Police Officer. l=le is being sued in his individual capacity

9. At all relevant times, Defendants Were acting under color of state
lavv.

10. At all relevant times, the actions taken by all Defendants deprived

Plaintiff’s decedent Carmelo Winans of his constitutional and statutory rights.

 

FACTUAL ALLEGAT|ONS

11. On l\/Iarch 13, 2011, plaintiffs decedent Carmelo Winans suffered
from a mental illness.

12. On l\/larch 13, 2011, plaintiff’s decedent Carme|o VVinans Was
inside the home he shared With his father and grandparents.

13. Plaintiff’s decedent Carmelo `\./\./inans, vv'no Was emotionally
troubled, Was sitting in a corner on the floor of the family kitchen, holding a
small steak knife to his own neck.

14. Plaintiff’s decedent Carmelo Winans Was not threatening anyone
and he Was not engaging in any aggressive actions.

15. 'l'he police Were called to come help because it Was feared that
Carme|o Winans vvould harm himself.

16. Defedants Nicoletti and l\/|cCarthy arrived and entered the house
in uniform, With guns drawn.

17. lt Was readily apparent to Defendants Nicoletti and |\/lcCarthy that
Carmelo Winans Was emotionally compromised, in need of assistance, and
that he did not present a threat to them or to others in the house.

18. Defendants Nicoletti and l\/|cCarthy stood safely in the entrance

to the kitchen and spoke to Carmelo VVinans, Who put the knife on the floor

 

 

as requested

19. At this point there Was no emergency, there Was no danger and
the situation Was de-escalating safely.

20. Instead of Waiting for trained back-up, including an officer Who
arrived minutes later With a taser, Officer Nicoletti dove into the kitchen onto
Carmelo Winans in an attempt to grab him and grab the knife from the floor,
With his unho|stered gun in his hand.

21; Nicoletti intentionally discharged his gun, striking himself in the
protective Vest.

22. Nicoletti then claimed to have been shot.

23. C)fficer l\/lcCarthy then proceeded to fire multiple shots at the
Carmelo Winans, Who Was defenseless, unresisting, and Who Was taking no
aggressive actions.

24. Carme|o Winans Was fatally Wounded and died on the floor of his
family’s kitchen.

25. Defendants Nicoletti and l\/|cCarthy exacerbated and escalated the
situation.

26. Defendants Nicoletti and l\/lcCarthy’s use of deadly force against

Carme|o Winans Was unreasonable

 

27. At no time did Plaintiff’s decedent Carme|o Winans commit an
offense against the laws of the Commonwealth of Pennsylvania, the United
States or the County of Philadelphia for which an arrest may be lawfully made
or which justified the use of deadly force.

28. At no time did Plaintiff’s decedent Carmelo Winans commit illegal
acts or engage in conduct which justified the actions of Defendants Nicoletti
and l\/lcCarthy.

29. On numerous occasions prior to l\/larch 13, 2011, Philadelphia
police officers failed to use widely recognized and well-established crisis
intervention procedures and techniques with regard to individuals exhibiting
possible mental illness, and resorted to unreasonable and excessive force

30. The actions and conduct of Defendants Nicoletti and l\/lcCarthy
were the direct result of the failure of Defendant City of Philadelphia to:

a) properly train, supervise monitor and discipline police officers in

connection with well-established crisis intervention and commitment

procedures related to individuals with mental disabilities;

b) provide programs and services to qualified persons with mental

disabilities; and/or

c) ensure that police officers follow established crisis intervention and

 

commitment procedures under such circumstances as presented bythis

case.

31. The actions and inactions of Defendants Nicoletti and l\/lcCarthy
were the proximate cause of the shooting and death of Carmelo Winans.

32. The shooting and death of Carmelo Winans were a foreseeable
consequence of the actions and inactions of Defendants Nicoletti and
l\/lcCarthy.

33. Defendants Nicoletti and l\/lcCarthy knew or should have known
that their actions and inaction could result in injuries to innocent persons.

34. Defendants Nicoletti and lVlcCarthy failed to take reasonable care
for the safety of innocent persons, including Carmelo VVinans.

35. The acts of Defendants Nicoletti and l\/lcCarthy constituted willful
misconduct

36. The actions and conduct of Defendants Nicoletti and l\/lcCarthy
were wi|lful, wanton, malicious, intentional, outrageous, deliberate and/or so
egregious as to shock the conscience

37. As a direct and proximate result of the actions and inactions of
Defendants, Plaintiff's decedent was caused to lose his life and thereby

caused to also suffer complete loss of earnings and earnings capacity.

 

38. As a direct and proximate cause of the Defendants' actions and
inactions Plaintiff’s decedent’s minor children suffered, continue to suffer, and
will suffer in the future loss of support, aid, comfort and familial
companionship of their father.

39. Plaintiff's decedent did not bring an action against Defendants for
damages for the injuries causing his death, during his lifetime

40. P|aintiff Bernadette Winans brings this action as Administrator of
the Estate of decedent Carmelo Harold Winans, and on behalf of others
entitled to recover under the Pennsylvania Wrongful Death Act.

41. P|aintiffs, by reason of Carmelo Winans’ injury and death, have
suffered pecuniary loss, to their great detriment7 and have or will incur
expenses for:

a. The costs of decedent’s funeral expenses;
b. The costs of decedent's headstone; and
c. The costs of administering decedent’s estate

42. /-\s a result of the death of Carmelo VVinans, his children, have
been deprived of the care, comfort, aid, society, affection, support,
companionship, services, guidance, tutelage, maintenance and assistance

of decedent for the remainder of his life, all to their great detriment and loss.

 

43. By reason of the death of Plaintiff’s decedent Carmelo Winans, his
children have suffered pecuniary loss, to their great detriment, including
contributions for:

a. Food;

b. Clothing;

c. Shelter;

d. l\/ledical care;

e Education;

f. Entertainment;

g. Recreation; and

h. Gifts.

44. P|aintiff also sues as Administrator of the Estate on behalf of the
Estate of Carmelo Harold Winans7 under and by virtue of the Pennsylvania
Survival Statute, and claims damages suffered by the Estate by reason ofthe
death of the decedent, as well as pain, suffering, inconvenience and
pecuniary loss the decedent underwent prior to his death.

45. Under 42 Pa.C.S. § 8302, all the claims Carmelo Winans would
have been able to bring, had he survived his injuries, survive for plaintiff to

prosecute on behalf of decedent's Estate

 

46. Plaintiff, by reason of decedent’s injury and death, has suffered
pecuniary loss, to her great detriment, and has incurred expenses for:
a. The costs of decedent’s medical bills;
b. The costs of decedent's funeral expenses;
c. The costs of decedent’s headstone; and
dt The costs of administering decedent’s estate

47. Under 42 Pa.C.S. § 8302, all the claims Carmelo Winans would
have been able to bring, had he survived his injuries, survive for plaintiff to
prosecute on behalf of decedent's Estate Plaintiff also sues as Administrator
of the Estate on behalf of the Estate of Carmelo Harold Winans, under and
by virtue of the Pennsylvania Survival Statute, and claim damages suffered
by the Estate by reason of the death of the decedent, as well as pain,
suffering and inconvenience the decedent underwent prior to his death.

48. As a direct and proximate cause of defendants' actions and
inactions, plaintiffs7 decedent7 prior to his death, suffered from gunshot
wounds by reason of which he was rendered sick, sore, lame, prostrate, and
disordered and was made to undergo great physical pain and horrible mental
anguish which resulted in his death, as well as loss of earning power and

earning potential, and his total deprivation of the normal activities, pursuits

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and pleasures of life, and his loss of life

49. As a direct result of the actions and conduct of all defendants
plaintiffs decedent suffered physical injuries pain, emotional distress
psychological harm, fear, horror and death, and additional harms caused by
the violation of his rights under the United States Constitution, 42 U.S.C.
§§1983, 12132 and 29 U.S.C. §794.

FlRST CAUSE OF ACTION
FEDERAL C|VlL RIGHTS VlOLATlONS UNDER 42 U.S.C. §1983

50. The allegations set forth in preceding paragraphs, inclusive, are
incorporated herein as though fully set forth.

51. As a direct and proximate result of Defendants' conduct,
committed under color of state law, all Defendants deprived plaintiffs
decedent of his right to be free from the unreasonable use of force, to be
secure in his person and property, and to due process and equal protection
of the law. As a result, plaintiff’s decedent suffered harm, in violation of his
rights under the laws and Constitution of the United States, in particular the
Fourth and Fourteenth Amendments thereof, and 42 U.S.C. §1983.

52. Defendant City of Philadelphia has encouraged, tolerated, ratified
and has been deliberately indifferent to a pattern, practice and custom of and
to the need for more or different training, supervision, investigation or

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discipline in the areas of:

3.

The proper exercise of police powers including improper
arrests detentions and the unreasonable use of force;
Crisis intervention techniques for individuals who exhibit the
signs and symptoms of mental disabilities;

The procedures for the commitment and transportation of
persons with mental disabilities for treatment under the
Pennsylvania l\/lental l-lealth and Procedures Act;
Training and resources for crisis intervention teams of
police officers and others to respond to emergencies
involving persons with mental disabilities including, but not
limited to their commitment for treatment under the
Pennsylvania l\/lenta| Health and Procedures Act;

The failure of police officers to follow established policies
procedures directives and instructions regarding crisis
interventiontechniques forindividuals who exhibitthe signs
and symptoms of mental disabilities;

Falsely and/or prematurely publicly vindicating or supporting

the actions of officers who Violate the rights of citizens

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including victims of police shootings and persons suffering
from mental illness and
g. By these actions defendant City of Philadelphia deprived
plaintiffs decedent of rights secured by the Fourth and
Fourteenth Amendments to the United States Constitution
in violation of 42 U.S.C. §1983.
53. As a direct and proximate result of the actions and conduct of
defendants plaintiffs decedent sustained damages as set forth above
54. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious oppressive outrageous and unjustifiable and, therefore
exemplary damages are necessary and appropriate
55. Plaintiff is entitled to attorney’s fees and costs of prosecution of
this suit from defendants pursuant to 42 U.S.C. §1988.
SECOND CAUSE OF ACT|ON v
FEDERAL ClVIL RlGHTS VlOLATIONS UNDER
42 U.S.C. §12132 and 29 U.S.C. §794
56. The allegations set forth in preceding paragraphs inclusive are
incorporated herein as though fully set forth.

57. As a direct and proximate result of all Defendants' conduct,

committed under color of state |aw, Defendants discriminated against

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plaintiffs decedent by reason of his mental health disability, denying him the

benefits of the services programs and activities to which he was entitled as

a person with a mentai health disability including but not limited to the right to

be free of discriminatory or disparate treatment by virtue of his mental

disability, and to due process and equal protection of the law. As a result,

plaintiffs decedent suffered harm in violation of his rights under the laws and

Constitution of the United States1 42 U.S.C. §12132 and 29 U.S.C. §794.

58. Defendant City of Philadelphia has failed to comply with the

mandates of 42 U.S.C. §12132 and 29 U.S.C. §794 in the following areas:

3.

The failure to properly train, supervise and discipline police
officers regarding crisis intervention technique for
individuals who exhibit the signs and symptoms of mental
disabilities;

The failure to provide adequate training and resources for
crisis intervention teams of police officers and others to
respond to emergencies involving persons with mental
health disabilities including, but not limited to the
commitment and transportation of persons with mental

health disabilities for treatment under the Pennsylvania

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l\/lental Health and Procedures Act;

c. The failure of police officers to follow established policies
procedures directives and instructions regarding crisis
intervention techniques for individuals who exhibit the signs

and symptoms of mental health disabilities; and

_c)_

The failure of police officers to follow established policies
procedures directives and instructions regarding the
procedures for the commitment and transportation of
persons with mental health disabilities for treatment under
the Pennsylvania l\/lental Health and Procedures Act.

59. By their actions Defendants have deprived plaintiffs decedent of
rights secured by the United States Constitution, 42 U.S.C. §12132 and 29
U.S.C. §794.

TH|RD CAUSE OF ACT|ON
ASSAULT & BATTERY

60. The allegations set forth in preceding paragraphs inclusive are
incorporated herein as though fully set forth.

61. Defendants Nicoletti and l\/|cCarthy did place plaintiffs decedent
in fear of imminent, unpermitted, unprivileged, offensive bodily contact and
did, in fact, subject him to such bodily contact.

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62. The acts of Defendants Nicoletti and l\/lcCarthy as set forth above
constituted the torts of assault and battery, all to plaintiffs’ great detriment and
loss

63. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious oppressive outrageous and unjustifiable and, therefore
exemplary damages are necessary and appropriate

FOURTH CAUSE OF ACT|ON
OUTRAGEOUS CONDUCT CAUS|NG SEVERE EN|OTIONAL D|STRESS

64. The allegations set forth in preceding paragraphs inclusive are
incorporated herein as though fully set forth.

65. Defendants Nicoletti and l\/lcCarthy by extreme and outrageous
conduct, intentionally or recklessly caused severe emotional distress to
plaintiffs decedent.

66. The acts of Defendants Nicoletti and l\/|cCarthy alleged in the
preceding paragraphs constitute the tort of Outrageous Conduct Causing
Severe Emotional Distress, all to plaintiffs great detriment and loss

67. The actions of Defendants Nicoletti and l\/lcCarthy were wanton,
wilful, malicious oppressive outrageous and unjustifiable and, therefore

exemplary damages are necessary and appropriate

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JURY DEMAND
68. Plaintiff demands a trial by jury as to each defendant and as to each
cause of action.
WHEREFORE, plaintiff demands judgment against each defendant,
jointly and severally, as to each count, along with costs attorney’s fees

interest exemplary damage esa stothe individual defendants and such other

and further relief as the Court may deem just and proper.

By: POPPER & YA TVIN

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August 11, 2011 Attorneys for Plaintiffs

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